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                         UNITED STATES DISTRICT COURT
                         EASTERN DISTRICT OF VIRGINIA
                               Norfolk Newport News




LEE HICKLIN,

                    Plaintiff(s),
     v.

                                                               Civil No. 4:21cv34



CITY OF HAMPTON,

                    Defendant(s).


                             JUDGMENT IN A CIVIL CASE

     Decision by the Court. This action came for decision before the Court. The issues have
     been considered and a decision has been rendered.


IT IS ORDERED AND ADJUDGED that Defendant's Motion to Dismiss, ECF No. 4, is
GRANTED.


DATED: 12/20/2021                        FERNANDO GALINDO, Clerk


                                                By                /s/
                                                     E. Price, Deputy Clerk
